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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF IPENNSYLVANIA
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INRE:
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EX PARTE APPLICATION OF                             MISQELLM'EOUS ACTION
IRAQ TELECOM LIMITED FOR AN
ORDER TO OBTAIN DISCOVERY FOR                       NO.   ~9-175
USE IN FOREIGN PROCEEDINGS
PURSUANT TO 28 U.S.C. § 1782


                                           ORDER




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by its December 5, 2019 Order ("December 5 Order"), it i(> FURTHER ORDERED that the Ex
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Parle Application of Iraq Telecom for an Order to O~tain Discovery for Use in Foreign
                                                          l
Proceedings Pursuant to 28 U.S.C. § 1782 and all papers submitted in support thereof (ECF No.
                                                          j
1) shall be made publically available on the Court's Pacer~ystem, excluding Exhibits 2 and 3 to

Appendix A (ECF No. 1-3), which have been filed under sJal pursuant to the December 5 Order.
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        IT IS SO ORDERED.




                                                R. BARCLAY SURRICK, J.
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